            Case 1:21-cv-00884-EGS Document 28 Filed 11/10/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

CENTER FOR BIOLOGICAL DIVERSITY,                     )
                                                     )
                      Plaintiff,                     )   Case No. 1:21-cv-884-EGS
                                                     )
       v.                                            )   NOTICE OF PROPOSED RULE
                                                     )   FOR BRACTED TWISTFLOWER
U.S. FISH AND WILDLIFE SERVICE, et al.,              )
                                                     )
                      Defendants.                    )
                                                     )

       Defendants the U.S. Fish and Wildlife Service (“FWS”); Martha Williams, in her official

capacity as Principal Deputy Director of FWS; and Debra Haaland, in her official capacity as

Secretary of the Department of the Interior, hereby notify the Court that, as of November 10,

2021, the FWS has made a proposed listing determination for a species at issue in this case: the

bracted twistflower (Streptanthus bracteatus). The proposed rule is publicly available in the

Federal Register at 86 Fed. Reg. 62,668.

Dated: November 10, 2021                      Respectfully submitted,

                                              TODD KIM, Assistant Attorney General
                                              SETH M. BARSKY, Section Chief
                                              MEREDITH L. FLAX, Assistant Section Chief

                                              /s/ Taylor A. Mayhall
                                              TAYLOR A. MAYHALL
                                              Trial Attorney, MN Bar No. 0400172
                                              United States Department of Justice
                                              Environment & Natural Resources Division
                                              Wildlife & Marine Resources Section
                                              P.O. Box 7611
                                              Washington, DC 20044-7611
                                              Tel: (202) 598-3796
                                              Email: taylor.mayhall@usdoj.gov

                                              Attorneys for Federal Defendants




                                                1
